
MILLS, Judge.
W. Y. appeals an order committing him to the care of the Department of Health and Rehabilitative Services (HRS). We reverse.
The sole error urged by W. Y. is that the trial court did not comply with Section 39.-09(3)(e), Florida Statutes (1981), by not ranking the three placement alternatives for him suggested by HRS. Instead, the order lists one option, halfway house, as all three priorities. Recently, this court held that this statute is mandatory, reversing an order listing a placement option not provided by HRS. See L. J. N. v. State, 411 So.2d 1349 (Fla. 1st DCA, 1982). The statute is mandatory when applied to the facts of this case as well.
The ranking of placement options is reversed and the cause is remanded so that the court may rank the options given it.
McCORD, J., and PEARSON, TILLMAN (Ret.), Associate Judge, concur.
